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IN THE UNITED S'I'ATES DISTRICT COURT 'Fu‘ED BY --%§_ D.C.
FOR THE WESTERN DISTRICT OF TENNESSEE

 

  

WESTERN DIvIsIoN 95 AUG 19 PH 3:1,3
THOMAS MGGU|_D

UNITED sTATEs oF AMERICA, CLEQ,%[£S~.W.WCT.C[(S)URT
‘,: or §;\;, ‘-'?.'--t_.-;‘;-€~,

vs¢ Noe 01_2795_M'lv

JAMES WILLIAM CALDWELL.r

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Defendant.

 

ORDER SETT ING HEARING

 

The evidentiary hearing on petitioner Caldwell's § 2255 motion
is hereby set Thursday, September 29, 2005, at 9:30 a.m. in
Courtroom 5, 3rd Floor Federal Building, 167 North Main Street,
Memphis, Tennessee.

IT IS SO ORDERED this 19th day Of August, 2005.

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DIANE K. VESCOVO
UNI'I‘ED STATES M.AGISTRATE JUDGE

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Steven lay Rozan

LAW OFFICE OF STEVEN JAY ROZAN
5051 Westheimer

St 700

Houston, TX 77056

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

